**** CASE NUMBER: 502022CA009847XXXXMB Div: AD ****
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  Filing # 158664542 E-Filed 10/05/2022 08:03:07 PM




                         IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                                IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                       CASE NO.


           KWAMAIN ONEAL,
                        Plaintiff,




                                                                                       PY
           vs.




                                                                            CO
           CITY OF RIVIERA BEACH AND JOHN VANDERLAAN


                        Defendant(s),




                                                                     D
           ___________________________________/

                                                    COMPLAINT
                                                              IE
                                                         IF
                 COMES NOW, he Plaintiff, KWAMAIN ONEAL, by and through his undersigned counsel, and
                                              RT

           hereby brings this lawsuit against the Defendants, CITY OF RIVIERA BEACH and JOHN

           VANDERLAAN, and as grounds would state:
                                     CE



                                          JURISDICTION AND PARTIES

                             1. This is an action for damages in excess of thirty thousand dollars
                              A




                                 ($30,000.00), exclusive of attorney's fees, cost and interest.
                        T




                             2. All conditions precedent to bringing this action have occurred or have
                   O
                 N




                                been performed. The Florida Stat. ¤768.28 Notice of Claim has been

                                forwarded, served and received more than six (6) months ago. Said

                                document was served upon the Mayor, the Police Chief and upon the

                                Insurance Commissioner of the State of Florida via certified mail. (See

                                attached Exhibit ÒAÓ).




FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 10/05/2022 08:03:07 PM
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                  3. Plaintiff's claims arise pursuant to 42 U.S.C. ¤1981, 1983, and 1988 for

                    violations of his rights protected by the Fourth and Fourteenth

                    Amendments to the United States Constitution, as well as under Florida

                    state law.

                  4. The Plaintiff, KWAMAIN ONEAL, (herein after referred to as "ONEAL'




                                                                          PY
                    or "Plaintiff') is over the age of eighteen (18), is a resident of Palm Beach

                    County, and is otherwise sui juris.




                                                               CO
                  5. Defendant CITY OF RIVIERA BEACH (hereinafter referred to as

                    "CITY"), is a municipal corporation formed pursuant to the laws of the




                                                          D
                    State of Florida, located within the confines of Palm Beach County,
                                                 IE
                    Florida.
                                           IF
                  6. At all times material hereto, CITY was and is responsible for the
                                    RT


                    operation, administration, management and oversight of all activities
                         CE



                    involving the RIVIERA Beach Police Department and its employees.

                  7. At all times material to this Complaint, Defendant JOHN
                   A




                    VANDERLAAN (hereinafter referred to as "VANDERLAAN"), was an
              T




                    employee of the RIVIERA Beach Police Department, and at all material
          O




                    times was acting within the course and scope of his employment under
      N




                    color of law at the time of the events alleged in this Complaint and is sued

                    individually.

                  8. At all times material to this Complaint, CITY employed VANDERLAAN

                    who was acting in the course and scope of his employment.
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                  9. At all times material CITY owned a canine named Platz (hereinafter

                     sometimes simply referred to as ÒThe K9"). Said K9 was a part of the

                     CITY's K-9 unit.

                  10. The stated purpose of the Defendant CITY was "to use K-9's to aid in the

                     detection of criminal activity and the apprehension of criminal violations




                                                                          PY
                     as well as the recovery of evidence, contraband, firearms, currency, lost or

                     missing persons, and explosives detection.Ó




                                                                CO
                  11. CITY required K-9 handlers to ensure that "injury to suspects be

                     minimized to the extent possible during criminal apprehensionsÓ.




                                                         D
                  12. At all times material, VANDERLAAN exercised control and command
                                                  IE
                     over Platz. In other words, at all times material, The K9Õs actions were
                                            IF
                     controlled and directed by VANDERLAAN.
                                   RT


                  13. In connection with the acts, practices and violations described below.
                          CE



                     VANDERLAAN directly or indirectly violated ONEAL 's constitutional

                     and state rights.
                   A




                                                  FACTS
              T




                   14. On or about October 8, 2018, VANDERLAAN engaged his squad carÕs
          O




                     emergency lights and siren to initiate a traffic stop of a vehicle
      N




                     (hereinafter Òthe VehicleÓ) occupied by ONEAL. Thereafter, a pursuit of

                     the vehicle ensued which ultimately resulted in the vehicle colliding with

                     another vehicle at the intersection of Avenue O and Blue Heron Blvd. in

                     Riviera Beach, FL.
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                   15. Due to his fear and knowledge of the reputation of the RIVIERA Beach

                     police and his current circumstance, ONEAL then exited the vehicle and

                     fled on foot to 1177 W. Blue Heron Blvd. (hereinafter the ÒFedEx

                     BuildingÓ) with VANDERLAAN in pursuit in the CITY's K-9 Sports

                     Utility Vehicle (ÒSUVÓ).




                                                                       PY
                   16. When he arrived to the FedEx building, VANDERLAAN exited the

                     CITY's K-9 SUV and found ONEAL perched atop an awning affixed to




                                                              CO
                     the building safeguarding himself from police.

                  17. Several additional RIVIERA Beach police officers were dispatched to the




                                                        D
                     FedEx building where they too found ONEAL atop the awning.
                                                  IE
                   18. Immediately, VANDERLAAN released his K9 Òoff-leadÓ from the
                                           IF
                      CityÕs K9 SUV.
                                  RT


                   19. While pleading with VANDERLAAN, ONEAL advised that he wanted
                         CE



                     to surrender, but did not wish to be hurt. VANDERLAANÕs Body

                     Camera recorded ONEAL unequivocally stating ÒIÕm surrenderingÓ on at
                   A




                     least seven (7) occasions.
              T




                   20. ONEAL agreed to come down but expressed what turned out to be a
          O




                     well founded fear of the excessive and unnecessary use of force that
      N




                     would follow. He begged VANDERLAAN and the other officers present

                     not to allow the K9 to bite him.
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                  21. As he began to come down off of the awning in compliance with

                     VANDERLAANÕs commands, ONEAL was grabbed on the leg by

                     VANDERLAAN and pulled before miraculously landing on both feet

                     with both arms raised into the air with his hands spread open to reveal

                     that he was unarmed.




                                                                         PY
                  22. ONEAL fully demonstrated compliance while simultaneously indicating

                     both verbally and physically, that he was surrendering to the officers.




                                                               CO
                     Clearly, the officers present could see that ONEAL was surrendering.

                   23. Notwithstanding, VANDERLAAN allowed, indeed commanded, the K9




                                                        D
                     to attack ONEAL.            IE
                   24. The K9   was harnessed and controlled by VANDERLAAN when he
                                            IF
                     commanded the attack. ONEAL posed no threat, had fully surrendered
                                  RT


                     and was compliant, all of which was known to the officers present.
                         CE



                   25. The K9 lunged forward biting ONEAL on his back and and finally

                     locking his jaw upon ONEALÕS arm causing ONEAL to lose
                   A




                     consciousness; ultimately resulting in deformity and injury.
              T




                   26. Throughout the entire time the K9 attacked ONEAL, VANDERLAAN
          O




                     could be heard praising the animal ÒGOOD BOYYYY GOOD BOYYY
      N




                     GOOD BOYYYÓ as it continued to sink its teeth further and further into

                     ONEALÕS flesh.
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                   27. As the K9 continued to tug at ONEALÕS arm while his body laid

                      completely limp, VANDERLAAN could be heard commanding ONEAL

                      to ÒStop ResistingÓ.

                   28.At no point did ONEAL physically resist the officers' attempts to arrest

                      him once he came down from atop the awning. Notwithstanding, he was




                                                                           PY
                      brutally apprehended through the jaws and teeth of VANDERLAANÕs K9

                      in what can only be characterized as punishment for his attempt to flee.




                                                                  CO
                   29. The use of a the K9 to punish ONEAL for fleeing served no lawful

                      purpose, was sadistic, gratuitous, and caused ONEAL severe and




                                                          D
                      permanent injury.            IE
                   30. At the time of this action, the law was clearly established that officers
                                             IF
                      cannot use force on a non-violent offender who has completely
                                   RT


                      surrendered and complied with lawful commands for the purpose of
                          CE



                      punishing the individual for initially fleeing.

                   31.At no time did ONEAL take any action to either physically or verbally
                   A




                      threaten the officers and at all times material, the officers were aware that
              T




                      ONEAL was not armed, was not in possession of any type of weapon,
          O




                      was trying to surrender and was showing his hands.
      N




                   32. After the incident, the officers wrote up reports suggesting that the

                      ONEAL was attacked by the canine after multiple and endless request for

                      him to surrender were ignored.
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                                             COUNT I

                               State Law Battery- Against Defendant CITY

                  33. ONEAL reasserts and re-alleges Paragraphs 1-32 as if fully set out

                     herein.




                                                                      PY
                  34.On or about October 8, 2018, Defendant VANDERLAAN was acting in

                     the course and scope of his employment at that time and place, did




                                                              CO
                     intentionally batter, touch, and/or otherwise strike ONEAL by deploying

                     his canine for that or those purposes.




                                                         D
                  35.CITY is vicariously liable for the actions of VANDERLAAN and the
                                                  IE
                     canine.
                                            IF
                  36.The conduct of VANDERLAAN, as set forth above, was objectively
                                  RT


                    unreasonable and constituted unnecessary and excessive force committed
                         CE



                    during the course and scope of employment. The battery was

                    accomplished by an abuse of VANDERLAAN's position as a law
                   A




                    enforcement officer employed by the CITY.
              T




                  37.The actions of VANDERLAAN caused physical harm and was committed
          O




                    without the PlaintiffÕs consent.
      N
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                     38.As a direct and proximate result of the above-mentioned unconstitutional

                        acts of VANDERLAAN, ONEAL has sustained damages, including severe

                        physical injury, physical inconvenience, in the past and will continue to

                        suffer into the future aggravation of a preexisting condition, pain and

                        suffering, disability, disfigurement, impairment of working ability,




                                                                             PY
                        medical expense, loss of time, mental suffering, humiliation, disgrace, loss

                        of enjoyment of life, and has and will continue to incur medical expenses,




                                                                      CO
                        care and treatment for his injuries.

                WHEREFORE, Plaintiff ONEAL respectfully requests this Honorable Court to




                                                               D
         grant the following relief: Award him compensatory damages, taxable costs, a trial by
                                                       IE
         jury on all issues so triable, and other such and further relief as this Court deems
                                                IF
         reasonable and just.
                                      RT


                                             COUNT II
                                CE



            (State Law Battery- Against Defendant VANDERLAAN, Individually)

                     39.ONEAL reasserts and re-alleges Paragraphs 1-32 as if fully set out herein.
                      A




                     40.On or about October 8, 2018, Defendant VANDERLAAN was acting in
                T




                        the course and scope of his employment at that time and place did
          O




                        intentionally batter, touch, and/or otherwise strike ONEAL by deploying
      N




                        his canine for that or those purposes. Said actions were done without

                        Plaintiff's consent and against Plaintiff's will.
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                      41.The conduct of VANDERLAAN was objectively unreasonable and

                          constituted excessive force committed during the course and scope of

                          employment. Defendant VANDERLAAN's battery of ONEAL, as set

                          forth above, was accomplished by an abuse of VANDERLAANÕs position

                          as a law enforcement officer employed by CITY.




                                                                                 PY
                      42.As a direct and proximate result of the above-mentioned unconstitutional

                         acts of VANDERLAAN, the Plaintiff has sustained damages, including




                                                                      CO
                         severe physical injury, physical inconvenience in the past and will

                         continue to suffer into the future aggravation of a pre existing condition,




                                                               D
                         pain and suffering, disability, disfigurement, impairment of working
                                                        IE
                         ability, medical expense, loss of time, mental suffering, humiliation,
                                                   IF
                         disgrace, loss of enjoyment of life, and has and will continue to incur
                                         RT


                         medical expenses, care and treatment for his injuries.
                               CE



                 WHEREFORE, Plaintiff ONEAL demands judgment against Defendant

         VANDERLAAN for compensatory damages and costs of this action. and further requests
                       A




         a jury trial on all issues so triable.
                T




                                                  COUNTIII
           O




   Unnecessary/Unreasonable Use of Force Claim Against Defendant VANDERLAAN, Individually
      N




                                   Pursuant to 42 u.s.c ¤1983 , ¤1988

                       43.Plaintiff reasserts and realleges Paragraphs l-32 as if fully set out herein.
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                   44.VANDERLAAN, under color of law, did intentionally cause his K9, who

                     was under his command, to touch or strike ONEAL by biting him on his

                     arm and back without ONEAL's consent and against his will.

                   45.The conduct of VANDERLAAN towards ONEAL, as more fully set forth

                     above, was objectively unreasonable and constituted unreasonable force in




                                                                              PY
                     violation of Plaintiff's clearly established Constitutional rights under the

                     4th and 14th Amendments of the United States Constitution and 42.




                                                                   CO
                     U.S.C. ¤1983.

                  46.VANDERLAAN acted intentionally and with reckless disregard for




                                                            D
                     Plaintiff's clearly established Constitutional rights.
                                                     IE
                  47.ONEAL has retained the undersigned law firm to prosecute this action on
                                              IF
                     his behalf.
                                    RT


                  48.As a direct and proximate result of the actions of VANDERLAAN in
                          CE



                     violation of 42 U.S.C. ¤ l983, Plaintiff suffered damages which include

                     physical suffering, physical inconvenience, physical discomfort, medical
                   A




                     treatment and care, all in violation of Plaintiff's civil rights.
               T




                     WHEREFORE, Plaintiff demands judgment against VANDERLAAN for
           O




                     any and all damages allowable by law, including but not limited to
       N




                     compensatory, exemplary damages, and punitive damages; award the costs

                     of this action and all costs related thereto; and award any equitable relief

                     allowed by law; and demand a trial by jury of all issues so triable.

                     ONEAL also demands attorneys' fees pursuant to 42 U.S.C. ¤1988.
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                     Dated this 4th day of October, 2022.



                                                        Respectfully submitted,


                                                        The Barber Firm, LLC




                                                                       PY
                                                        4440 PGA Blvd. Suite 600
                                                        Palm Beach Gardens, FL 33410
                                                        Zedrick@thebarberfirm.us




                                                             CO
                                                        (561) 221-1708

                                                        By: /s/ Zedrick Barber II
                                                        Zedrick Barber, II, Esq.




                                                       D
                                                        Florida Bar No. 0110326
                                                 IE
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                          EXHIBIT ÒAÓ




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                                                                COMPLETE THIS SECTION ON DELIVERY
     SENDER: COMPLETE THIS SECTION
                                                                A. Signature
     ■ Complete items 1, 2, and 3.                                                                                    □ Agent
     ■ Print your name and address on the reverse               X                                                     □ Addressee
       so that we can return the card to you.
                                                                 Bl. Received by (Printed N,]arre)              C. Date of Delivery
     ■ Attach this card to the back of the mailpiece,
       or on the front if space permits.                          fT if)                                         2--/^ 2^
     1. Article Addressed to:            ___ -                  D. Is delivery address different from item 1? □ Yes

                                         fzidcr             • i    If YES, enter delivery address below:      □ No




    Coo ■fc’lwc                                         6>U,




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     -pvl




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                                                               3. Service Type                              □ Priority Mail Express®
                                                               □ Adult Signature                            □ Registered Mail™
                                                               □ Adult Signature Restricted Delivery        □ Registered Mail Restricted
                                                               □ Certified Mail®                              Delivery
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             9590 9402 5121 9092 8778 92                       □ Collect on Delivery
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                                                               □ Collect on Delivery Restricted Delivery    □ Signature Confirmation™




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       70n 0140 D0D1 1334 SDlb                                     jer $500)

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                                                            IF
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                                                                COMPLETE THIS SECTION ON DELIVERY
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                                         CE



     SENDER: COMPLETE THIS SECTION
                                                                A. Signature
     ■ Complete items 1,2, and 3.
     ■ Print your name and address on the reverse               XP
       so that we can return the card to you.                    B. Received'Sy (iPrtntqd-tyame)           V!{ ttate of Delivery
                             A




     ■ Attach this card to the back of the mailpiece.
       or on the front if space permits.__________                                                                    □ Yes
                                                                 D. Is delivery address different from Item 1?
                     T




     1. Article Addressed, to:                    .     \
                                                                    If YES. enter delivery address below:              □ No
              O




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                                                               3. Service Type                           □ Priority Mail Express®
                                                               □ Adult Signature                         □ Registered Mail™
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    Case 9:23-cv-80344-AMC Document
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                                              FIR M , Docket
                                                       LLC .03/02/2023 Page 14 of 17
                                            Attorneys and Counselors at Law

                                                4440 PGA Blvd. Suite 600
                                             Palm Beach Gardens, FL 33410


                                              February 7, 2020

             **THIS CORRESPONDENCE IS SENT PURSUANT TO FLA. STAT. 768.28(6)(a)**

CERTIFIED RETURN/RECEIPT REQUESTED

Mayor Ronnie Felder
600 Blue Heron Blvd.




                                                                               PY
Riviera Beach, FL 33404

Florida Department of Financial Services




                                                                            CO
Division of Risk Management
200 East Gaines Street
Tallahassee, FL 32399




                                                                  D
Florida Chief Financial Officer
Jimmy Patronis
200 East Gaines Street
                                                           IE
                                                    IF
Tallahassee, FL 32399
                                           RT

RE:

Our Client/Claimant:         Kwamain Oneal
                                   CE




Address:                     REDACTED
                             REDACTE, REREDA
                             A




Date of Birth:               August 12, 1989
Place of Birth:              West Palm Beach, FL
Date of Incident:            October 8, 2018
                       T




Type of Claim:               Battery; Assault; Negligence; Negligent Supervision, Negligent Training;
                    O




                             Excessive Force; Deliberate Indifference, Intentional Infliction of Emotional
                             Distress; Negligent infliction of Emotional Distress; Violation of 4th
             N




                             Amendment of the United States Constitution; Violation of Florida Statute
                             767.04; Violation of Federal Civil Rights Act of 1964; Violation of 42 U.S. Code
                             ¤ 1983; PunitiveDamages; AttorneyÕs Fees and all other claims allowable arising
                             out of this incident.
Incident Location:           1177 W Blue Heron Blvd. Riviera Beach, FL 33404
Adjudicated Penalties:       No Fines, Fees, Victim Restitution Funds and other
                             judgments in excess of $200.000 owed byMr. Oneal to
                             the State, its agency, officers of sub-divisions.
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 Mr. Mayor:

        Please be advised that the undersigned represents the above claimant for the injuries he sustained
 on the above date and at the above listed location. This letter is dispatched as notice pursuant to the
 requirements of Florida Statute 768.28(6)(a). We feel the City of Riviera Beach (hereinafter Òthe
 CityÓ), Mayor Ronnie Felder, Chief Clarence Williams and K9 Officer John Vanderlaan and/or city
 employees have tort responsibility in the above-captioned incident.

         According to the Internal Affairs Investigation report, the undisputed facts of the incident that led
 to Mr. OnealÕs injuries (hereinafter Òthe IncidentÓ) are as follows: On October 8, 2018 at approximately
 11:00 pm., K9 Officer John Vanderlaan (hereinafter ÒVanderlaanÓ) and his Officer K9 Platz were
 involved in an incident wherein Vanderlaan attempted to conduct a traffic stop on a vehicle
 occupied by two individuals; one of which, was Mr. Oneal. Mr. Oneal fled and ultimately ended




                                                                                PY
 up perched on top of an awning located at 1177 West Blue Heron Blvd. Riviera Beach, FL 33404.
 VanderlaanÕs body camera captured his K9 off lead and attempting to climb the wall to get Mr.




                                                                      CO
 Oneal who was on the awning. Despite commands from Vanderlaan to come down, Mr. Oneal
 initially remained on top of the awning because he was visibly afraid that the K9 would bite him.
 Mr. Oneal responded ÒYou got it, donÕt let the dog bite me. Please donÕt let the dog bite me!Ó Mr.
 Oneal can also be heard screaming several times ÒIÕM SURRENDERING!Ó At that time, Mr. Oneal




                                                               D
 was pulled down from the awning by Vanderlaan. Mr. Oneal laid on the ground without offering
 any resistance at which point, Vanderlaan without any justification, allowed his K9 to viciously at-
                                                        IE
 tack Mr. Oneal while Vanderlaan began to apprehend Mr. Oneal. You could hear Mr. Oneal
 screaming in agony while faced down as the K9 grabbed a hold of Mr. OnealÕs left arm with its
                                                  IF
 teeth locked into Mr. Oneal skin penetrating his flesh until Mr. Oneal eventually lost consciousness.
 As the K9 was attacking Mr. Oneal, Vanderlan can clearly be heard encouraging the K9 by stating
                                         RT

 ÒGood Boy. Good Boy.Ó Once Mr. Oneal lost consciousness, additional officers joined in, handcuff-
 ing Mr. OnealÕs limp body before then transporting him to St. MaryÕs Medical Center. The force
 used by the K9 Officer and Vanderlaan was clearly excessive. As a result of Vanderlaan, the K9 and the
                               CE



 CityÕs unlawful acts and indifference for Mr. OnealÕs wellbeing, Mr. ONeal suffered great bodily harm
 requiring immediate medical treatment and leaving irreparable and permanent scarring.
                        A




         Due to the foregoing, we are hereby making a claim against the City of Riviera Beach for payment
 of four hundred thousand dollars ($400,000.00) for all damages sustained by Mr. Oneal, including
                  T




 punitive damages and attorneyÕs fees. If the City of Riviera Beach does not believe that it has tort
 responsibly in the above-captioned incident, please advise the undersigned immediately in the form of a
              O




 written denial. Please also provide this office with the name and correct mailing address of the State
       N




 agency or subdivision, which does have tort responsibility for this claim. Otherwise, we shall expect the
 City of Riviera Beach to promptly begin good faith negotiations for the fair settlement of this claim.

       If you feel that we have failed to comply with Florida Statute 768.28(6)(a) in any manner
 whatsoever, please advise accordingly by return mail specifying how we have failed.
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           Please also accept this letter is as a request that you provide this office (preferably in an electronic
  form) with a copy of all recordings of the incident (written, video and/or audio) or in the form of a hard
  copy at the email address or alternatively the physical address affixed to this letter head. Please also
  consider this a request that any and all all evidence related to this incident including but not limited to
  all statements, audio and video recordings in your possession be preserved. If you fail to preserve and
  maintain this evidence, this office will seek any and all sanctions available under Florida law. Nationwide
  Lift Trucks, Inc. vs Smith, 832 So. 2d 824, 826 (Fla. 4th DCA 2003). We specifically request that the




                                                                                    PY
  following evidence be maintained and preserved and not be destroyed, modified, altered, repaired,
  or changed in any manner:




                                                                         CO
           1. Any and all copies of video recordings of the incident.

           2. Any and all logs or other documents prepared by agents, officers or employees of the City




                                                                  D
              concerning the Incident from October 8, 2018 through the present;

                                                           IE
           3. All photographs and video recordings related to the Incident including photographs of the
              scene, where Mr. OnealÕs injuries occurred;
                                                    IF
           4. Any and all manuals, guidelines, rules or regulations regarding K9 officers and officer K9s
                                           RT

              used by the City at the time of the incident;

           5. Any reports, memos, notes, logs or other documents evidencing complaints concerning
                                 CE



              Officer Vanderlan for the five year period prior to the incident;

           6. Any reports, memos, notes, logs or other documents evidencing complaints concerning the
              officer K9 handled by Officer Vanderlan during the incident for the five year period prior to
                          A




              the incident;
                   T




           7. Any and all witness reports statements taken by your employees, agents, officers or insurers
              O




              referencing the incident from October 8, 2018 through the present;
        N




           8. All names of Officers working on behalf of the City at 1177 West Blue Heron Blvd. Riviera
              Beach, FL 33404 at the time of the Incident and an account of each officerÕs working hours
              that day.
           9. All personnel files for all officers who were present at 1177 West Blue Heron Blvd. Riviera
              Beach, FL 33404 during the incident;

           If you have any questions, please do not hesitate to call me directly at (561) 221-1708.




                      Email: Zedrick@TheBarberFirm.us Phone: (561)221-1708 Fax: (561) 828-2361
                                              www.thebarberÞrm.us
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   Best Regard,




   Zedrick D. Barber, II, Esq.




                                                             PY
                                                      CO
                                                 D
                                           IE
                                       IF
                                  RT
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